Case 2:24-cv-09844-ES-JBC        Document 27-3       Filed 03/24/25     Page 1 of 1 PageID: 242


    Jim Bramson
    EVP, Business Affairs & General Counsel




    May 22, 2024



    Via Email
    Gegard Mousasi
    c/o Nima Safapour



    RE: Acceleration of Term and Release

    Dear Gegard,

    As you are aware, New Bellator LLC, a subsidiary of Professional Fighters League
    (“PFL”), acquired the business of Bellator MMA late last year, and as part of this
    transaction, your promotional agreement with Bellator Sport Worldwide LLC was
    assigned to PFL (“New Bellator”).

    Since the acquisition over the past few months, we have engaged in reasonable,
    meaningful, and good faith dialogue with your representative, Nima Safapour,
    regarding your fight oportunities.

    We were therefore surprised and disappointed to see that despite our ongoing and good
    faith discussions, you made very public disparaging statements aimed at damaging the
    brand of our business and negatively affecting the reputation of our organization.

    Your conduct in clear violation of your contractual obligations to New Bellator leaves us
    with no choice but to release you from your promotional agreement pursuant to the
    provisions of Section 16(A)(i), effectively immediately.

    We wish you well in your future career. This communication is sent with all rights
    reserved.

    Sincerely,




                      19 Union Square West, 9th Floor, New York, NY 10003
